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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )
                                                )
RICHARD W. GATES III,                           )            Crim. No. 17-201-2 (ABJ)
                                                )
               Defendant.                       )


      DEFENDANT RICHARD W. GATES III’S MOTION TO MODIFY RELEASE
                  CONDITIONS FOR LIMITED PURPOSES
               TO ATTEND CHILDREN’S SPORTING EVENTS

       Richard W. Gates III, by and through counsel, hereby moves this Court for modification

of his release conditions for limited purposes so that he may attend and participate in his

children’s sporting events taking place this weekend. The first event is scheduled for Saturday,

January 6, 2018, at a location about four (4) miles from Mr. Gates’s residence. The second event

is his other child’s sporting event, which Mr. Gates also coaches. As previously explained to the

Court, Mr. Gates volunteered to coach this team long before he was indicted and he has been

coaching this team for five consecutive years. The event, scheduled for Saturday, January 6,

2018, is two and a half (2.5) miles from Mr. Gates’s residence. The third event is for the same

team on which his child plays and which Mr. Gates coaches, and is scheduled for Sunday,

January 7, 2018, at the same location two and a half (2.5) miles from Mr. Gates’s residence. Mr.

Gates requests a limited release to attend these events 1. Mr. Gates submits this motion to




1
  See attached Exhibit 1 filed under seal for specific information about the events, including
their exact locations.
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modify his release conditions for these weekend activities as his motion to modify bail

conditions is pending before the Court. 2

       If this Court permits this limited release from home confinement, Mr. Gates will

promptly provide Pre-Trial Services with specific information about the events, including the

times and locations. Mr. Gates will also continue to abide by all of his other release conditions,

including reporting to Pre-Trial Services as well as maintaining his GPS monitor.

       The position of the United States on this motion could not be ascertained.

       WHEREFORE, Mr. Gates hereby respectfully moves this Court to modify his release

conditions for limited purposes as specified above.

                                              Respectfully submitted,

                                              _/s/Shanlon Wu_______________
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2
  See ECF # 89-1 (sealed unredacted motion), 89-2 (sealed Exhibit 1 thereto), and 89-3 (Sealed
Exhibit 2 thereto). A public redacted version of the motion was filed on December 15, 2017.
See ECF # 96. The granting of Mr. Gates’s motion to modify bail conditions would obviate the
need for Mr. Gates to file a motion every time he wishes to leave his residence for purposes apart
from the few that are expressly permitted under his current release conditions.
                                                 2
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )
                                               )
RICHARD W. GATES III,                          )         Crim. No. 17-201-2 (ABJ)
                                               )
               Defendant.                      )

                                           ORDER

       Upon consideration of Defendant Richard W. Gates III’s Motion to Modify Release

Conditions for Limited Purposes to Attend Children’s Sporting Events and finding good cause

shown, it is this ___ day of January, 2018, hereby

       ORDERED, that the motion is GRANTED.



                                             _______________________________________
                                             AMY BERMAN JACKSON
                                             UNITED STATES DISTRICT JUDGE
